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12/22/21, 12:51 PM                                                           Seventh Circuit Court District-Docket Report


                                                            Mississippi Electronic Courts
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                                              CIVIL DOCKET FOR CASE #: 25CI1:21-cv-00783-TTG


 MCGEE v. SERENITY APARTMENTS AT JACKSON LLC et al                                                      Date Filed: 12/10/2021
 Assigned to: Senior Circuit Judge Tomie Green                                                          Current Days Pending: 12
                                                                                                        Total Case Age: 12
 Upcoming Settings:                                                                                     Jury Demand: None
                                                                                                        Nature of Suit: 62 Other Statutes/Rules
 None Found


 Plaintiff
 CYRUS MCGEE                                                                         represented by Robert O. Waller
                                                                                                    Waller & Waller
                                                                                                    Post Office Box 4
                                                                                                    JACKSON, MS 39205
                                                                                                    601-354-5252
                                                                                                    Fax: 601-354-2681
                                                                                                    Email: bobwaller@wallerandwaller.com
                                                                                                    ATTORNEY TO BE NOTICED


 V.
 Defendant
 SERENITY APARTMENTS AT JACKSON LLC

 Defendant
 JOHN DOES 1-4


                                                   Sort
  Date Filed           #     Clear                           Docket Text
                                                  Order

                                (6 pages)                    COMPLAINT against JOHN DOES 1-4, SERENITY APARTMENTS AT JACKSON LLC,
  12/10/2021           2                                     filed by CYRUS MCGEE. (Attachments: # 1 Civil Cover Sheet,) (KB) (Entered: 12/10/2021)
                             Attachments(+/-)
                                (1 page )                    SUMMONS Issued to SERENITY APARTMENTS AT JACKSON LLC. (KB) (Entered:
  12/10/2021           3
                                                             12/10/2021)
                                                             SUMMONS Returned Executed by CYRUS MCGEE. Re: ** 3 SUMMONS Issued to
                                                             SERENITY APARTMENTS AT JACKSON LLC. (KB)** SERENITY APARTMENTS AT
  12/14/2021           4        (2 pages)                    JACKSON LLC served on 12/14/2021, answer due 1/13/2022. Service type: Personal
                                                             (Waller, Robert) (Entered: 12/14/2021)

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                                                                                                                                      EXHIBIT A
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